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                         UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                   Orlando Division
                        Case No. ____________________________

IMPACT RTO FLORIDA, LLC                      )
                                             )    PETITION TO VACATE OR, IN THE
               Petitioner,                   )     ALTERNATIVE, TO MODIFY OR
                                             )   CORRECT ARBITRATION AWARD
               v.                            )      (Sections 10 and 11, Federal
                                             )   Arbitration Act, 9 U.S.C. §§ 10 and 11)
GREGORY BAKER                                )
                                             )
               Respondent.                   )

            PETITION TO VACATE AN ARBITRATION AWARD
    OR, IN THE ALTERNATIVE, TO MODIFY THE ARBITRATION AWARD

        COMES NOW, Petitioner, IMPACT RTO FLORIDA, LLC (“Impact”), by

and through undersigned counsel, and hereby files this Petition to Vacate, or in

the alternative, to Modify an Arbitration Award (“Petition to Vacate”) in favor of

GREGORY BAKER (“Baker”).

                              JURISDICTION AND VENUE

        1.     Jurisdiction of this matter is conferred on this court by Sections 10 and

11 of the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 10 and 11.1

        2.     Venue is proper pursuant to section 10 of the FAA, 9. U.S.C. § 10,

which states:

        In any of the following cases the United States court in and for the
        district wherein the award was made may make an order vacating the
        award upon the application of any party to the arbitration … (4)
        [w]here the arbitrators exceeded their powers, or so imperfectly


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       As more fully discussed infra, the arbitration agreement that is pertinent in this case
confirms that it is “subject to and governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq.”
See Impact’s Arbitration Agreement, Exh. B.

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      executed them that a mutual, final, and definite award upon the
      subject matter submitted was not made.

      See 9 U.S.C. §10 (4).

      3.     Venue is proper pursuant to section 11 of the FAA, 9. U.S.C. § 11,

which states:

      In either of the following cases the United States court in and for the
      district wherein the award was made may make an order modifying
      or correcting the award upon the application of any party to the
      arbitration – …(b) [w]here the arbitrators have awarded upon a
      matter not submitted to them, unless it is a matter not affecting the
      merits of the decision upon the matter submitted.

      See 9 U.S.C. § 11 (b).
                                     PARTIES

      4.     Impact is a limited liability company doing business in Florida and

several other states as part of the rental-purchase industry. It is a franchisee of

Rent-A-Center Franchising International, Inc. (“RACFI”), a wholly owned

subsidiary of Rent-A-Center, Inc. (“RAC”).        RAC owns and operates rental

purchase stores throughout the country separate and apart from the business of

franchisees such as Impact.

      5.     Baker was a customer of Impact who on or about September 28, 2019

entered into a Rental Purchase Agreement with Impact to rent, with an option to

purchase, certain merchandise, i.e., furniture.

                                 BACKGROUND

      6.     On or about September 28, 2019, Baker entered into and executed a

Rental Purchase Agreement (“RPA”) with Impact to rent, with an option to

purchase, furniture for his personal use. Under the RPA, Baker was obligated to


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make periodic rental payments in order to retain possession of the merchandise

or, he could, without penalty or further obligation, simply return the merchandise

to Impact. Part of the RPA was an Arbitration Agreement (“Impact AA”) also

executed by Baker. A copy of the RPA and the AA are attached hereto as Exh. A

and Exh. B, respectively. The transaction complied with and was governed by the

Florida Rental Purchase Agreement Act, Florida Statutes, section 559.9231 et. seq.

      7.     In August of 2020, Baker stopped making his requisite periodic rental

payments, at which point Impact initiated its standard collection protocol by

attempting to contact Baker (who may at the time have been in custody as a result

of a criminal conviction) to inquire if he would resume making payments or

whether he would prefer to return the merchandise. Impact placed calls to Baker

and to his mother, who was listed as a contact in the authorization form (as part

of the RPA documents Baker signed), with whom he resided and who on occasion

made the rental payments on his behalf.

      8.     On December 23, 2020, Baker and his mother instituted a Demand for

Arbitration against Rent-A-Center, Inc., an improper party who has since been

determined not liable, and John Doe Franchisee (i.e., Impact). Subsequently,

Baker’s mother was dropped from the case, and the action proceeded with Baker

as the sole claimant and alleged violations of the Florida Consumer Collection

Practices Act (“FCPPA”), Florida Statutes, section 5579.72(7), as the sole claim. See

Amended Demand for Arbitration, which is attached hereto as Exh. C.

      9.     The case proceeded thereafter to arbitration before an arbitrator

appointed by the American Arbitration Association (“AAA”).

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        10.    Overlooked by Impact, Baker (through legal counsel) submitted as

part of the Amended Demand for Arbitration a heavily redacted document

denominated         “Rent-A-Center/Acceptance              Now      Consumer          Arbitration

Agreement (“RAC AA”) bearing neither Baker’s identity nor his signature. A copy

of the RAC AA is attached hereto as Exh. D.

        11.    There being no doubt that there was an arbitration agreement as part

of and governing the transaction, Impact simply accepted that the arbitration

document appended to the Amended Demand for Arbitration was the operational

arbitration agreement. Parenthetically, it is alleged that the exact same document

was submitted by Baker’s law firm in an unrelated case wherein there was

indisputably no arbitration agreement and which, as a result, the AAA dismissed

and returned the filing fee.2

2
         Baker’s Illinois attorneys (who represented him in the arbitration and will presumably
apply to practice in this jurisdiction for purposes of responding to this Petition) redacted an
unrelated arbitration agreement (i.e., the RAC AA) and presented it to the AAA and the arbitrator
misrepresenting that that was the agreement which governed the parties’ conduct and
arbitration. Counsel for Baker knew that the document had not been signed by Baker, yet chose
to present it at the arbitration nonetheless. As a matter of fact, they also presented the RAC AA
in at least one other arbitration involving a different claimant – all the while knowing they were
misrepresenting the facts.

        Consequently, Petitioner wonders whether the intentional redaction and presentation by
Baker’s counsel of the RAC AA unsigned by Baker isn’t a violation of the Illinois Supreme Court
Rules of Professional Conduct – which govern the conduct of Baker’s Illinois attorneys.
Specifically, the rule on “truthfulness” states:

        Rule 4.1 – Truthfulness in Statements to Others

        In the course of representing a client a lawyer shall not knowingly:

        (a)    make a false statement of material fact or law to a third person; or

        (b)    fail to disclose a material fact when disclosure is necessary to avoid assisting a
        criminal or fraudulent act by a client, unless disclosure is prohibited by Rule 1.6

        Adopted July 1, 2009, effective January 1, 2020.

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        12.    After an evidentiary hearing, during which no mention or reference

was made to the applicable arbitration agreement, the arbitrator on November 8,

2021 issued an “Interim Award” in favor of Baker awarding him $5,000.00 for

“actual damages” and $1,000.00 for statutory damages. The arbitrator reserved

ruling on the issues of attorney’s fees.3

        13.    In reviewing the issue of attorney’s fees, legal counsel for Impact

uncovered the actual applicable and binding arbitration agreement (Exh. B hereto)

duly executed by Baker and immediately made the arbitrator aware of the fact in

its Response in Opposition to Claimant’s Request for Costs and Attorney’s Fees.

        14.    That the arbitration agreement relied upon by the arbitrator is not the

arbitration agreement entered into by Impact and Baker is clear from (a) the fact

that it bears no identification of the parties nor any signatures, and (b) the caption

to the document, to wit: “Rent-A-Center/Acceptance Now Consumer Arbitration



               Comment

               Misrepresentation

               [1] A lawyer is required to be truthful when dealing with others on a client’s behalf, but
               generally has no affirmative duty to inform an opposing party of relevant facts. A
               misrepresentation can occur if the lawyer incorporates or affirms a statement of
               another person that the lawyer knows is false. Misrepresentations can also occur
               by partially true but misleading statements or omissions that are the equivalent
               of affirmative false statements…

        Ill. Sup. Ct. R. 4.1 (as amended through September 29, 2021) (emphasis added).

3
        In its Response in Opposition to Claimant’s Requests for Costs and Attorney’s Fees filed
in the arbitration proceeding, Impact contested the liability imposed upon it on the basis that its
actions were indeed appropriate under the law. As a result, Impact also objected to and contested
the actual and statutory damages computation as devoid of supporting evidence. Nevertheless,
for purposes of the herein Petition to Vacate, Impact limits its arguments to the issue of attorney’s
fees.

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Agreement”. It should be noted that this is the arbitration agreement employed

by RAC, the parent of Impact’s franchisor, RACFI, which is evident simply from

the reference to “Acceptance Now” (a virtual shopping platform not even

available to franchisees such as Impact).

       15.    Unlike the arbitration agreement submitted as part of the Amended

Demand for Arbitration (Exh. D hereto), the actual operating, applicable and

binding arbitration agreement in this case (Exh. B hereto) provides: “The costs and

expenses of the arbitration shall be borne by Rent-A-Center, but each party will pay his/its

own attorney’s fees” (emphasis supplied).

       16.    Nevertheless, in his ruling on attorney’s fees the arbitrator completely

ignored the fact that he was applying the wrong arbitration agreement and its

provision on attorney’s fees. A copy of the Final Award of Arbitrator, dated Dec.

3, 2021 (“Final Award”), is attached hereto as Exh. E.

             VACATUR (OR IN THE ALTERNATIVE, MODIFICATION)
                        OF ARBITRATION AWARD
                 (PURSUANT TO FAA, 9 U.S.C. §§ 10 AND 11)

       17.    Arbitration agreements are uncontestable creatures of contract, which

bind the parties and the arbitration itself. See Rent-A-Center, West, Inc. v. Jackson,

531 U.S. 63 (2010); Szuts v. Dean Witter Reynolds, Inc., 931 F.2d 830 (11th Cir. 1991).

In signing the Impact arbitration agreement, Baker expressly agreed to pay for his

own attorney’s fees in this arbitration. Requests for “attorney’s fees must be

supported with proof of entitlement[.]”. Royal Surplus Lines Ins. Co. v. Coachmen

Industries, Inc., 229 F.R.D. 695, 696–97 (M.D. Fla. 2005); cf. Oliveri v. Thompson, 803



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F.2d 1262, 1265 (2d Cir. 1986) (explaining court has required clear evidence

justifying inherent power to award fees).

      18.    Additionally, “a contractual attorney’s fee provision must be strictly

enforced” under Florida law. See Kelly v. Lee Cnty. R.V. Sales Co., Case No: 8:18-cv-

424-T-27JSS, at *7 (M.D. Fla. Feb. 22, 2021) (citing Succar v. Safra Nat’l Bank of New

York, 237 F. App’x 526, 528 (11th Cir. 2007) (internal quotations and citation

omitted)). “Florida law … requires contractual provisions for attorney’s fees to

‘unambiguously state that intention and clearly identify the matter in which the

attorney’s fees are recoverable…’” Am. Univ. of the Caribbean, N.V. v. Caritas

Healthcare, Inc., 441 F. App’x 644, 645 (11th Cir. 2011) (quoting Sholkoff v. Boca Raton

Cmty. Hosp., Inc., 693 So. 2d 1114, 1118 (Fla. 4th DCA 1997)). Trial courts do not

have the discretion to decline to enforce attorney’s fees provisions, even if the

challenging party brings a meritorious claim in good faith. Lashkajani v. Lashkajani,

911 So. 2d 1154, 1158 (Fla. 2005).

      19.    In applying the wrong arbitration agreement and its attorney’s fees

provision, the arbitrator “exceeded his powers” as he went beyond the authority

granted by the parties and decided an issue not pertinent to the resolution of the

issue submitted to arbitration. See 9 U.S.C. § 10(4) (“where the arbitrators exceeded

their powers, or so imperfectly executed them that a mutual, final, and definite

award upon the subject matter submitted was not made”). Arbitrators exceed

their authority by deciding an arbitration in a manner contrary to the terms of an

arbitration agreement. See, e.g., Cat Charter, LLC v. Schurtenberger, 646 F.3d 836, 843

(11th Cir. 2011) (an arbitrator exceeds his or her authority by failing to provide an

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award in the form required by the arbitration agreement). Where, as here, an

arbitrator not only failed to interpret the appropriate arbitration agreement and its

attorney’s fees provision, but ignored it altogether, he has exceeded his authority,

thus warranting a vacatur of the improper determination on the issue.4 See Oxford

Health Plans LLC v. Sutter, 569 U.S. 564, 569 (2013) (“the sole question for us is

whether the arbitrator (even arguably) interpreted the parties’ contract, not

whether he got its meaning right or wrong”) (a court may overturn an arbitrator’s

determination “[o]nly if ‘the arbitrator act[ed] outside the scope of his

contractually delegated authority’ – issuing an award that ‘simply reflect[ed] [his]

own notions of [economic] justice’ rather than ‘draw[ing] its essence from the

contract’”).

        20.    It is clear beyond peradventure that the provisions of an arbitration

agreement into which neither Impact nor Baker entered, such as Exh. D hereto, can

hardly be contractually binding. Thus, the arbitrator’s award, and in particular

his decision as to attorney’s fees, based on an arbitration agreement undeniably

inapplicable to the parties, is fatally flawed as it not only manifested an action



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         In justifying his position of awarding Baker attorney’s fees, the arbitrator cited to the
inapplicable arbitration agreement (i.e., RAC AA), which states that an arbitrator may award such
fees “if applicable law would entitle a party to an award of reasonable attorney’s fees”. See Final
Award (Exh. E), at p. 1. The arbitrator goes on to cite an irrelevant case, Arnold v. Source Sols.
Mgmt., 2021 U.S. Lexis 1114805, at *5 (M.D. Fla. Apr. 27, 2021), for the proposition that an award
of attorney’s fees for a prevailing party is “mandatory” under the FCCPA. See Final Award (Exh.
E), at pp. 1–2. However, the case cited is wholly inapplicable to the case at hand because the
award of attorney’s fees in that case did not involve an arbitration agreement; rather, it was entirely
dependent on the FCCPA. Thus, because the arbitrator and Baker were unable to point to any
authority (in either the Final Award or in Baker’s Request for Costs and Attorney’s fees, for that
matter) for the proposition that alleged violations of the FCCPA obviate Florida’s long-standing
policy favoring enforcement of arbitration agreements and attorney’s fees provisions as contained
therein, the attorney’s fees award is improper and the Final Award must be vacated.

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which “exceeded [his] powers” but also constituted an “evident material mistake

in the description” of the actual arbitration agreement pertinent to the dispute at

bar thereby giving this court ample authority under 9 U.S.C. §§ 11(a) and (b) to

issue an order vacating, or in the alternative, modifying or correcting the

arbitrator’s award, particularly as to attorney’s fees.

                               PRAYER FOR RELIEF

      WHEREFORE, Impact RTO Florida, LLC respectfully prays of the court as

follows:

      1.     Assume jurisdiction of the matters under sections 10 and 11 of the

FAA, 9 U.S.C. §§ 10 and 11;

      2.     Vacate the arbitration award at least as to attorney’s fee (or, in the

alternative, modify the arbitrator’s award to deny Baker any attorney’s fees); and

      3.     And for other and further relief as this court deems just, proper and

equitable.

      Respectfully submitted this 15th day of December, 2021.

                                         /s/ Cintia Calevoso
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                                       and




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